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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        No. 1:04-cr-05278-DAD
12                      Plaintiff,
13          v.                                        ORDER GRANTING DEFENDANT’S
                                                      MOTION AND AMENDED MOTION TO
14   ROBERT VELASQUEZ ACOSTA,                         REDUCE SENTENCE PURSUANT TO 18
                                                      U.S.C. § 3582(c)(2)
15                      Defendant.
                                                      (Doc. Nos. 392, 401)
16

17                                          INTRODUCTION

18          On April 24, 2015, defendant Robert Velasquez Acosta filed a pro se motion seeking a

19   reduction of his sentence pursuant to 18 U.S.C. § 3582(c)(2). (Doc. No. 392.) Pursuant to

20   stipulation and in keeping with a General Order of the court, the previously assigned District

21   Judge referred the matter to the U.S. Probation Office and to the Office of the Federal Defender

22   for review. (Doc. No. 394.) Thereafter, on September 4, 2015, the court appointed counsel to

23   represent defendant in connection with his motion for relief. (Doc. Nos. 397 & 398.) On

24   November 6, 2015, counsel filed an amended motion for a reduction of sentence pursuant to 18

25   U.S.C. § 3582(c)(2) on behalf of defendant. (Doc. No. 401.) On November 20, 2015, the

26   government filed its opposition to the motion (Doc. No. 402) and on December 7, 2015,

27   defendant filed his reply. (Doc. No. 404.) On February 8, 2016, the court heard oral argument on

28   defendant’s motion. Assistant United States Attorney Kathy Servatius appeared on behalf of the
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 1   United States and attorney John Balazs appeared telephonically on behalf of the defendant. After

 2   hearing oral argument the court took the motion under submission for decision. (Doc. No. 406.)

 3          Through his amended motion, petitioner seeks a reduction in his 180 month sentence

 4   imposed on May 1, 2006, in this case. Specifically, defendants seeks relief on the basis of

 5   Amendment 782 to the U.S. Sentencing Guidelines (November 1, 2014), which revised the Drug

 6   Quantity Table in § 2D1.1 of the U.S. Sentencing Guidelines (“USSG”) and reduced by two

 7   levels the offense level applicable to many drug trafficking offenses. (Doc. Nos. 392, 401.) The

 8   government opposes defendant’s amended motion, arguing that even though at the time of

 9   sentencing the court made only a finding that in excess of 1.5 kilograms of actual

10   methamphetamine was involved in the conspiracy count to which defendant pled, in fact, the

11   actual amount of methamphetamine involved exceeded 4.5 kilograms thereby rendering him

12   ineligible for a reduction in his sentence under Amendment 782. (Doc. No. 402.) Defendant

13   responds by contending that this court may only consider the evidence and information before the

14   court at the time defendant’s sentence was originally imposed and which resulted in the

15   determination that quantity of methamphetamine involved in his offense was in excess of 1.5

16   kilograms. (Doc. No. 404.) Based upon the sentencing court’s original drug quantity finding,

17   defendant argues the court should now grant the requested reduction in his sentence.

18          For the reasons explained below and because the government’s argument relies upon

19   evidence and information not before the court at the time of defendant’s 2006 sentencing,

20   defendant will be granted the requested relief.
21                                     FACTUAL BACKGROUND

22          On February 1, 2006, the day his trial was set to commence, defendant Roberto Acosta

23   entered into a plea agreement with the government pursuant to which he agreed to plead guilty to

24   Count One of a Superseding Indictment charging him with conspiracy to manufacture and

25   distribute more than 50 grams of methamphetamine in violation of 21 U.S.C. §§ 846 and

26   841(a)(1). (Doc. No. 276 at 1-2.) Under the U.S. Sentencing Guidelines (USSG) in effect at the
27   time, offenses involving 1.5 kilograms or more of actual methamphetamine qualified for a base

28   offense level of thirty eight. See USSG § 2D1.1(c)(1) (2005). As part of his plea agreement,
                                                       2
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 1   defendant agreed to both that base offense level and a three-point reduction for acceptance of

 2   responsibility, resulting in an adjusted offense level under the Sentencing Guidelines of thirty

 3   five. (Doc. No. 276 at 2:10–12.) His plea agreement further provided that his criminal history

 4   category was II1 which, based upon the 2005 edition of the USSG Manual, resulted in a guideline

 5   range calling for a sentence of 188—235 months imprisonment. (Id.) However, in their plea

 6   agreement the parties both agreed to recommend that a sentence of 180 months imprisonment be

 7   imposed. (Id. at 2, 4.) Finally, the factual basis for defendant’s guilty plea simply provided that

 8   the drug laboratory in question “had the capacity to manufacture and/or had manufactured in

 9   excess of 1.5 kilograms of actual methamphetamine.” (Id. at 5:15–16.)2

10   1
       In the presentence report the probation officer concluded that defendant’s criminal history
11   category was III, resulting in a guideline range calling for a term of imprisonment of between 210
     to 262 months. However, it is undisputed that in keeping with the plea agreement of the parties,
12   the sentencing judge found that a category III overstated defendant’s criminal history and made a
13   finding that a criminal history category II was appropriate, resulting in a guideline range calling
     for 188—235 months imprisonment.
14
     2
       The factual basis for defendant’s plea as set forth in the plea agreement and as adopted by him
15   at the time of his entry of plea provided in its entirety as follows:
16                  Beginning at a time unknown and continuing to no later than
                    October 4, 2004, in the County of Stanislaus, State and Eastern
17                  District of California, and elsewhere, the defendant did knowingly
                    and intentionally conspire with Javier Escamillia, Eliazar Orosco
18                  Sanchez, Daniel Casillas, and other individuals to manufacture and
                    distribute methamphetamine.
19
                    On September 18, 2004, the defendant, Javier Escamilla Magana,
20                  and other individuals proceeded to purchase items which were
                    needed to make methamphetamine, such as pseudoephedrine, bed
21                  sheets and kitty litter (the sheets are used to wring liquid from the
                    methamphetamine after it is cooked and the kitty litter is used to
22                  disguise the fumes generated by the manufacturing process). The
                    defendant participated in this activity by transporting
23                  pseudoephedrine from Los Angeles and purchasing the items
                    described above, knowing that they would be used to make
24                  methamphetamine. Daniel Casillas, Eliazar Orosco and one other
                    individual knowingly commenced extracting pseudoephedrine from
25                  pseudoephedrine tablets (or knowingly assisted as other individuals
                    did so) as part of the initial process of manufacturing
26                  methamphetamine. The laboratory had the capacity to manufacture
                    and/or had manufactured, in excess of 1.5 kilograms of actual
27                  methamphetamine.
28   (Doc. 276 at 5:6–16.)
                                                      3
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 1          On May 1, 2006, defendant was sentenced pursuant to his previously entered plea of

 2   guilty. (Doc. Nos. 306–7.) In the presentence report (“PSR”), the Probation Officer found that

 3   “the defendant conspired with codefendants to manufacture in excess of 1.5 kilograms of actual

 4   methamphetamine” resulting in a base offense level of 38 and a total adjusted offense level of 35

 5   under the USSG. (PSR at 7-8.) In describing defendant’s offense conduct, the PSR also stated as

 6   follows:

 7                   Later, during the evening of September 18, 2004, Acosta and
                     Magana were observed driving to a residence located at 5319
 8                   Berkeley Avenue in Denair, California. They then returned to the
                     residence located at Rosemore Avenue. Later during the execution
 9                   of a search warrant at the residence located on Berkeley Avenue,
                     agents seized an operational amphetamine extraction/
10                   methamphetamine manufacturing laboratory. Arrested at the
                     residence on Berkeley Avenue was Daniel Casillas Sanchez
11                   (Sanchez) and Eliazar Roberto Orosco-Sanchez (Orosco-Sanchez).
                     Agents estimated that the laboratory had a production capacity of
12                   approximately 30 pounds of methamphetamine. Among the
                     numerous chemicals and equipment seized by agents were
13                   approximately three 20 pound bags of “Cat Pride” cat litter which
                     was recovered from the laboratory site.
14
                     On September 19, 2004, agents executed a search warrant at the
15                   residence located at 805 Rosemore Avenue. At this location, agents
                     seized 59 gallons of Coleman camp fuel and 10 gallons of
16                   denatured alcohol from inside the garage of the house. Agents also
                     seized approximately 9 pounds of finished methamphetamine which
17                   was hidden in an air-conditioning vent inside the house.
18                   At the residence, agents seized approximately $4,600 from the
                     master bedroom dresser. Agents arrested Acosta and Gonzalez as
19                   they were departing the residence prior to the execution of the
                     search warrant.
20
21   (PSR at 6–7.)

22          Finally, in the “justification” section of the report, the PSR stated:

23                   On September 18, 2004, the defendant and his girlfriend were
                     observed purchasing numerous items used in the manufacture of
24                   methamphetamine. The defendant transported those items to homes
                     which were later found to contain operational methamphetamine
25                   manufacturing laboratories. Agents seized approximately nine
                     pounds of finished methamphetamine which was hidden in an air
26                   conditioning vent inside one of the homes.
                     The defendant is facing a substantial period of incarceration as the
27                   guidelines range [for criminal history category III] in this case is
                     210 to 262 months. When considering the sentence, it is important
28                   to take into account that the offense involved a very large drug
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 1                  conspiracy with multiple laboratory sites. The potential capacity of
                    the laboratories and the substantial amount of actual
 2                  methamphetamine produced, further enhances the seriousness of
                    this offense.
 3

 4   (Id. at 15.)

 5           In imposing the 180 month sentence, the sentencing judge adopted the presentence

 6   investigation report without change but for the criminal history category determination, sentenced

 7   defendant in keeping with the mandatory minimum sentence for the count of conviction and

 8   departed from the advisory guideline range for reasons authorized by the USSG and pursuant to

 9   the plea agreement of the parties which called for the departure. (Judgment, Statement of

10   Reasons.)3 The sentencing judge did not make any specific finding that the defendant was

11   responsible for the entire quantity of methamphetamine that the drug laboratory referred to in his

12   PSR was allegedly capable of producing.

13                                        LEGAL STANDARDS

14           “As a general matter, courts may not alter a term of imprisonment once it has been

15   imposed.” United States v. Spears, 824 F.3d 908, 912 (9th Cir. 2016) (quoting United States v.

16   Hicks, 472 F.3d 1167, 1169 (9th Cir. 2007)). Creating an exception to this rule, “[s]ection

17   3582(c)(2) authorizes district courts to modify an imposed sentence ‘in the case of a defendant

18   who has been sentenced to a term of imprisonment based on a sentencing range that has

19   subsequently been lowered by the Sentencing Commission.’” United States v. Dunn, 728 F.3d

20   1151, 1155 (9th Cir. 2013) (quoting 18 U.S.C. § 3582(c)(2)). Hearings on motions brought

21   pursuant to § 3582(c)(2) are to be “limited [in] nature,” and are not “plenary resentencing

22   proceedings.” Dillon v. United States, 560 U.S. 817, 818, 827 (2010). Consideration of a

23   reduction in sentence pursuant to § 3582(c) follows a two-step inquiry. Dunn, 728 F.3d at 1155

24   (citing Dillon, 560 U.S. at 825–26). The district court must first determine whether the defendant

25   is eligible for a sentence modification under the policy statements adopted by the Sentencing

26   Commission as well as the extent of any reduction authorized. Dillon, 560 U.S. at 827. In doing

27   3
      The sentencing judge thus imposed a sentence in keeping with the plea agreement of the parties
     which called for a departure below the advisory sentencing guideline range to a sentence of 180
28   months in the custody of the Bureau of Prisons. (Doc. Nos. 276 at 2:10–14 and 4:14; 307 at 2.)
                                                     5
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 1   so, the court must “determine the amended guideline range that would have been applicable to the

 2   defendant” if the amendment had been in effect at the time of the original sentencing. Id. If the

 3   district court determines that the defendant is eligible for a sentence reduction, then under the

 4   second step of the inquiry the district court is to consider the § 3553(a) sentencing factors in

 5   deciding whether, in the exercise of its discretion, a reduction in sentence is warranted under the

 6   circumstances. Id.

 7          As to the first step inquiry in this case, the Sentencing Commission promulgated

 8   Amendment 782 in 2014, which generally revised the Drug Quantity Table and chemical quantity

 9   tables across drug and chemical types. The Commission also made Amendment 782 retroactively

10   applicable to previously sentenced defendants. See USSG § 1B1.10(d); 79 Fed. Reg. 44,973. In

11   generally lowering sentencing guideline ranges, Amendment 782 also added a higher drug

12   quantity category at the top of the Drug Quantity Table (applicable to those cases where the

13   amount of methamphetamine is in excess of 4.5 kilograms), and shifted all other categories down

14   two levels. See USSG § 2D1.1(c)(1) (2014).

15                                       PARTIES’ ARGUMENTS

16          In its opposition to defendant’s motion for a reduction in his sentence, the government

17   concedes that neither the PSR nor the plea agreement attempted to quantify the amount of

18   methamphetamine defendant Acosta may have been responsible for in connection with the

19   criminal conspiracy of which he was convicted, other than to find that it was more than 1.5

20   kilograms. (Doc. No. 402 at 9:24–10:4.) At the hearing on the pending motion, the government
21   reiterated this position. However, the government argues that the court should now consider

22   additional evidence and information, not considered by the judge in imposing sentence on this

23   defendant, in order to find that the drug quantity for which he was responsible exceeded 4.5

24   kilograms of actual methamphetamine, thus making him ineligible for a sentence reduction. In

25   this regard, the government argues that although “[t]he Ninth Circuit has not addressed how to

26   proceed on a Section 3582(c)(2) motion where the parties did not attempt to quantify the entire
27   amount of the controlled substance involved,” courts in other circuits have held that district courts

28   may make new factual findings so long as they are not inconsistent with the original findings of
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 1   the sentencing court. (Doc. No. 402 at 9:11–17) (citing United States v. Davis, 682 F.3d 596, 618

 2   (7th Cir. 2012); United States v. Hall, 600 F.3d 872, 876 (7th Cir. 2010); United States v.

 3   Jackson, 365 F. App’x 690, 691 (7th Cir. 2010) (unpublished); United States v. Woods, 581 F.3d

 4   531, 538–39 (7th Cir. 2009)).

 5           At the hearing on the pending motion the government went further, arguing that under the

 6   holding in United States v. Sprague, 135 F.3d 1301 (9th Cir. 1998), the sentencing court is

 7   authorized to both consider new evidence and to make new factual findings in ruling on a motion

 8   brought under § 3582(c)(2). The government notes that in Sprague, the Ninth Circuit remanded

 9   to the district court a § 3582(c)(2) motion based upon Amendment 484 to the Sentencing

10   Guidelines (November 1, 1993),4 with instructions to the district court that it “may consider the

11   supplemental declaration by the defendant’s expert” and “calculate the base offense level by other

12   evidence.” Id. at 1306–07. In support of this argument the government also points to the

13   decision in United States v. Rios, 765 F.3d 133 (2nd Cir. 2014) (determining that the district court

14   properly held an evidentiary hearing to make a drug quantity finding which supported the denial

15   of a motion for relief under § 3582(c)(2) based upon 2007 and 2011 amendments to the USSG).

16           Based on these arguments, the government now asks this court to consider evidence that

17   the approximately nine pounds of methamphetamine seized by authorities from 805 Rosemore

18   Avenue and referred to in defendant’s PSR, actually dried to a net weight of 2.683 kilograms, had

19   a 98% purity level and thus constituted 2.629 kilograms of actual methamphetamine. The

20   government also seeks to have the court now find, based upon the opinion of an expert forensic
21   chemist submitted in connection with a co-defendant’s case in July of 2007, that the 9.355 grams

22   of pseudoephedrine seized from the Berkeley Avenue drug laboratory represented a production

23   capacity of between 4.677 kilograms (assuming a 50% conversion rate) and 8.656 kilograms

24   (assuming a 100% conversion rate) of actual methamphetamine. (Id. at 6-7, 11:7–21.) Based

25   upon this evidence not presented at the time of defendant’s sentencing, the government argues

26   4
       Amendment 484 defined the term “mixture or substance” as used in the Sentencing Guidelines
27   for the purpose of calculating base offense levels. As defined, that term does not include
     “materials that must be separated from the controlled substance before the controlled substance
28   can be used.”
                                                      7
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 1   that the amount of actual methamphetamine involved in defendant’s offense was between 7,306

 2   grams and 11,285 grams and, in any event, was in excess of 4.4 kilograms. (Id.)

 3           In the alternative, the government argues that even if this modification court may not

 4   consider evidence or information not before the court at the time of sentencing to determine the

 5   quantity of actual methamphetamine involved in defendant’s offense, the additional evidence and

 6   information presented in this case should be considered by the court at the second step of

 7   analyzing defendant’s motion for relief under § 3582(c)(2).5

 8           Defendant counters that, based upon the evidence and information before the court at the

 9   time of sentencing, the government cannot meet its burden of proving that his offense involved

10   4.5 kilograms or more of actual methamphetamine. Defendant argues that this court is limited to

11   considering only that evidence which was before the court at the time of sentencing on May 1,

12   2006, and cannot consider the government’s additional evidence in ruling upon his motion for a

13   sentence reduction. (Doc. No. 404 at 4:1–5:24.) Defendant points to the decisions of other

14   circuits to support this contention. (Id. at 4:12–24) (citing United States v. Valentine, 694 F.3d

15   665, 673–74 (6th Cir. 2012); United States v. Battle, 706 F.3d 1313, 1318–19 (10th Cir. 2013);

16   United States v. Hamilton, 715 F.3d 328, 340 (11th Cir. 2013)).

17                                               ANALYSIS

18           For the reasons set forth below, the court concludes that when a defendant seeks a

19   reduction in sentence under § 3582(c)(2) based upon Amendment 782 to the USSG, only the

20   evidence and information before the court, as well as the findings made, at the time of the original
21   sentencing may be considered. The court also concludes that the decision in Sprague is not

22   controlling with respect to the resolution of this issue because its reasoning in this context has

23   been undermined by the Supreme Court’s subsequent decision in Dillon v. United States, 560

24   U.S. 817 (2010). Moreover, even if Sprague survived the Supreme Court’s decision in Dillon, it

25   is distinguishable from the present case in that it involved a § 3582(c)(2) motion premised on

26   USSG Amendment 484 rather than a motion based upon Amendment 782. Here, the evidence
27
     5
       As noted above, it is at that point the court is called upon to consider the applicable § 3553(a)
28   factors in determining whether a reduction in sentence is warranted under the circumstances.
                                                         8
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 1   and information considered by the sentencing judge, defendant’s PSR and plea agreement, does

 2   not support a finding that defendant was responsible for in excess of 4.5 kilograms of actual

 3   methamphetamine. Finally, the court finds that consideration of the § 3553(a) factors in

 4   defendant’s case warrant a reduction in his sentence.

 5           i.     A § 3582(c)(2) hearing is limited to the original sentencing court record.

 6           In Dillon, the Supreme Court established the basis for a rule limiting consideration to the

 7   original sentencing court record in sentencing modification proceedings under § 3582(c)(2) . In

 8   describing the two-step inquiry to be undertaken in determining whether a defendant is entitled to

 9   a sentence reduction under § 3582(c)(2), the court emphasized the limited nature

10   of such proceeding, stating that “[b]y its terms, § 3582(c)(2) does not authorize a sentencing or

11   resentencing proceeding.” 560 U.S. at 824; see also United States v. Tercero, 734 F.3d 979, 983

12   (9th Cir. 2013). Furthermore, the Supreme Court explained that in ruling on such motions district

13   courts do not “impose a new sentence in the usual sense,” but merely reduce an otherwise final

14   sentence under certain limited circumstances. Dillon, 560 U.S. at 824-25. “Section 3582(c)(2)’s

15   text, together with its narrow scope, shows that Congress intended to authorize only a limited

16   adjustment to an otherwise final sentence and not a plenary resentencing proceeding.” Id. at 826;

17   see also United States v. Aguilar-Canche, 835 F.3d 1012, 1017 (9th Cir. 2016); Spears, 824 F.3d

18   916.6

19           The limited nature of the proceedings under § 3582 does not preclude further fact-finding

20   where, as here, a specific determination of drug quantity was not made at the time of sentencing.
21   As the Sixth Circuit has persuasively explained:

22                  If the record indicates that there was a finding of a specific quantity
                    of drugs, either because the original sentencing judge made a
23                  specific finding or because the defendant admitted to a specific
                    quantity, then the modification court must use that quantity and
24                  determine whether applying the retroactive amendment has the
                    effect of lowering the Guideline range; if it does, the defendant is
25                  eligible, and the court proceeds to the second step of the Dillon
                    analysis. Watkins, 625 F.3d at 281. However, if the record does
26
     6
27     The Supreme Court also observed that “[b]ecause reference to § 3553(a) is appropriate only at
     the second step of this circumscribed inquiry, it cannot serve to transform the proceedings under
28   § 3582(c)(2) into plenary resentencing proceedings.” Dillon, 560 U.S. at 827.
                                                       9
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 1                   not reflect a specific quantity finding but rather a finding or a
                     defendant’s admission that the defendant was responsible for “at
 2                   least” or “more than” a certain amount, then the modification court
                     must make supplemental findings based on the available record to
 3                   determine if applying the retroactive amendment lowers the
                     Guideline range. Moore, 582 F.3d at 646. Essentially, the
 4                   modification court must determine whether a preponderance of the
                     evidence in the record establishes that the defendant is responsible
 5                   for the quantity of drugs set forth in the retroactive amendment.
                     The modification court’s examination of the record will include the
 6                   trial transcript, the sentencing hearing transcript, and the portions
                     of the presentence report that the defendant admitted to or the
 7                   sentencing court adopted. See, e.g., United States v. Blackmon, 380
                     Fed. Appx. 498, 501 (6th Cir. 2010) (finding defendant ineligible
 8                   based on portions of the PSR that he admitted to by failing to
                     object); see also Moore, 582 F.3d at 646 (remanding to district
 9                   court to determine whether the record establishes that defendant
                     was responsible for more than 4.5 kilograms of drugs).
10

11   Valentine, 694 F.3d at 670 (emphasis added).

12           This limiting of the consideration of evidence to that which was before the original

13   sentencing court has been adopted by a the majority of the federal circuit courts, including the

14   Fifth, Sixth, Eighth, Tenth, Eleventh, and D.C. Circuits. See United States v. Wyce, 741 F.3d

15   1284, 1284 n.9 (D.C. Cir. 2014) (the modification court may examine “the trial transcript, the

16   sentencing hearing transcript, and the portions of the presentence report that the defendant

17   admitted to or the sentencing court adopted”) (quoting Valentine, 694 F.3d at 670); United States

18   v. Benson, 715 F.3d 705, 708 (8th Cir. 2013) (“[Defendant] was free to present information from

19   the probation office about drug quantity values, or to argue his case for a reduction based on the

20   trial transcript and other records of the original sentencing.”); Hamilton, 715 at 340 (“So if the

21   district court finds that its original findings were limited to ‘at least 1.5 kilograms,’ the court will

22   need to go further. It will need to examine the entire record before it at the time of the original

23   sentencing to see if it can make any further findings that will resolve the issue of whether 8.4

24   kilograms or more of crack cocaine should be attributed to [defendant]. . . the court should not

25   consider any evidence or materials beyond those that were before it at the time of the original

26   sentence proceeding.”); Battle, 706 F.3d at 1319 (“[W]e simply determine that the supplemental

27   drug quantity calculations made by the district court at [defendant’s] § 3582(c)(2) proceeding

28   were unsupported by the facts found at his original sentencing.”); Valentine, 694 F.3d at 672
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 1   (“[T]he modification court must look at the record of the original sentencings and determine if a

 2   preponderance of the evidence indicates that Defendants were responsible for 4.5 kilograms.”);

 3   United States v. Hernandez, 645 F.3d 709, 712 (5th Cir. 2011) (where the sentencing judge

 4   adopted the drug quantity finding of the PSR, the district court did not abuse its discretion in

 5   refusing to grant an evidentiary hearing to allow defendant to challenge the drug quantity for

 6   which he was found responsible in ruling on a § 3582(c)(2) motion); United States v. Moore, 582

 7   F.3d 641, 646 n.2 (6th Cir. 2009) (“Moore was sentenced on May 1, 2000, while his testimony

 8   was given in August 2000. The district court should make its decision based on the information

 9   that was available at the time of sentencing, although we acknowledge the judge has the

10   discretion to deny Moore’s [§ 3582] motion even if his Guidelines range is lowered.”); United

11   States v. Almaraz, Case No 1:12-CR-0328-(5)-LJO-SKO, 2016 WL 235203, at *2 (E.D. Cal. Jan

12   20, 2016) (“[T]he court finds it appropriate to examine the record in order to establish,

13   conclusively, the drug quantity attributable to Defendant for purposes of the instant motion.”); but

14   see United States v. Rios, 765 F.3d 133, 138-39 (2d Cir. 2014) (where the record at sentencing

15   contained only the parties’ stipulation that at least 1.5 kilograms were at issue, it was proper for

16   the district court to make its ultimate finding that 8.4 kilograms were attributable to defendant

17   after holding an evidentiary hearing on his § 3582 motion).

18          Thus, as another judge of this court has stated:

19                  If the Court must engage in further fact finding, the Court cannot
                    make a determination that is inconsistent with a determination made
20                  a sentencing. [United States v. Woods, 581 F.3d 531, 538 (7th Cir.
                    2009)]. So long as the Court confines it[s] inquiry to the material
21                  available to the sentencing court, Woods, 581 F.3d at 538-539, the
                    manner in which the Court determines that quantity and the
22                  determination of whether to hold a hearing fall within the Court’s
                    “broad discretion in how to adjudicate § 3582(c)(2) proceedings
23                  …” Rios, 765 F.3d at 138 (citation omitted). See also United
                    States v. Battle, 706 F.3d 1313, 1318–1319 (10th Cir. 2013)
24                  (holding that the quantity determination must be supported by the
                    facts known to the court at the original sentencing.)
25

26   United States v. Moreno, No. 1:04-cr-05185-AWI-1, 2015 WL 6709022, at *2 (E.D. Cal. Nov. 3,
27   2015) (emphasis added); See also United States v. Curiel, CR. NO. 2:05-0113-01 WBS, 2016 WL

28   6819245, at *2 (E.D. Cal. Nov. 16, 2016) (Concluding that even though the original PSR stated
                                                      11
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 1   that a conspiracy involved more than 5 kilograms, unless the sentencing judge made a specific

 2   finding that the defendant was responsible for that larger amount, the court in ruling upon a

 3   subsequent § 3582 motion was limited to consideration of only the “more than 1.5 kilograms” of

 4   actual methamphetamine stipulated to by the defendant in his plea agreement.)

 5          Based upon the weight of authority, the undersigned concludes that in considering the

 6   present motion its inquiry must be limited to the record that was before the court at the time the

 7   defendant was originally sentenced. Accordingly, this court will confine its inquiry to the

 8   original sentencing record and will examine whether a preponderance of evidence in that record

 9   establishes that defendant Acosta was responsible for at least 4.5 kilograms of actual

10   methamphetamine.

11          ii.     Sprague does not apply.

12          In reaching the conclusion stated above, the court rejects defendant’s argument that the

13   Ninth Circuit’s decision in Sprague requires consideration of new evidence in this case.

14   Specifically, the court finds that Sprague has been undermined by the Supreme Court’s decision

15   Dillon. As noted above, in Sprague the Ninth Circuit remanded a § 3582(c)(2) motion based

16   upon Amendment 484 with instructions that the district court “may consider the supplemental

17   declaration by the defendant’s expert” and “calculate the base offense level by other evidence.”

18   Id. at 1306–07. However, the Supreme Court’s prohibition against “plenary resentencing

19   proceedings” under § 3582(c)(2), subsequently announced in Dillon, and its emphasis on the

20   “limited nature” of hearings under that provision is directly at odds with Sprague’s authorization
21   of consideration of supplemental evidence on a motion for relief under§ 3582(c)(2). Indeed, the

22   Supreme Court’s decision in Dillon has served as the basis of many subsequent decisions

23   precluding consideration of new evidence at § 3582(c)(2) hearings. See United States v. Kennedy,

24   722 F.3d 439, 442 (D.C. Cir. 2013); Benson, 715 F.3d at 708; Battle, 706 F.3d at 1318; Valentine,

25   694 F.3d at 669–70; Hernandez, 645 F.3d at 711–13. Finally, the Eighth Circuit has explicitly

26   recognized that the Supreme Court’s decision in Dillon undermined the holding of Sprague:
                    The Ninth Circuit did state summarily in United States v. Sprague,
27                  135 F.3d 1301 (9th Cir. 1998), that once a defendant shows that a
                    retroactive guideline amendment “is applicable,” the burden of
28                  proof “shifts to the government to establish the base offense level,
                                                    12
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 1                   that is, the weight of the controlled substance.” Id. at 1307. No
                     other circuit has adopted this view, however, and the Supreme
 2                   Court recently made clear that § 3582(c)(2) does not authorize a
                     “plenary resentencing proceeding,” but permits “only a limited
 3                   adjustment to an otherwise final sentence.” Dillon v. United States,
                     560 U.S. 817, 824–27 (2010).
 4

 5   Benson, 715 F.3d at 708.7

 6            Even though the decision in Sprague was not expressly overruled by the Supreme Court in

 7   Dillon, that intervening Supreme Court authority controls the resolution of the issue now before

 8   the court. See United States v. Nachtigal, 507 U.S. 1, 2–6 (1993) (holding that the lower court

 9   erred by not finding the case controlled by intervening Supreme Court authority even though

10   circuit authority had not been expressly overruled); Miller v. Gammie, 335 F.3d 889, 899–900

11   (9th Cir. 2003) (“[T]he issues decided by the higher court need not be identical in order to be

12   controlling. Rather, the relevant court of last resort must have undercut the theory or reasoning

13   underlying the prior circuit precedent in such a way that the cases are clearly irreconcilable.”).

14            Moreover, even if the decision in Sprague was unaffected by Dillon, it is not controlling

15   in the present case because Sprague involved a resentencing based on USSG Amendment 484

16   rather than Amendment 782 and there are substantive differences between the two. Amendment

17   484 established an entirely new method for calculating drug quantity for Sentencing Guideline

18   purposes, while Amendment 782 merely changed the guideline range for different drug quantity

19   amounts without modifying the method for determining drug quantity. Prior to Amendment 484,

20   the Ninth Circuit had used the gross weight of a mixture containing methamphetamine and liquid

21   by-products to determine the relevant drug quantity. See United States v. Innie, 7 F.3d 840,

22
     7
23      It is also of note that the Fifth Circuit, which at one time had concluded that evidentiary
     hearings were appropriate to determine whether defendants qualified for a modification of
24   sentence under Amendment 484, just as the Ninth Circuit had done in Sprague, see United States
     v. Towe, 26 F.3d 614, 617 (5th Cir. 1994), reversed field on that issue following the Supreme
25   Court’s decision in Dillon. See Hernandez, 645 F.3d at 712 & n.3 (Concluding that a district
26   court does not abuse its discretion in denying an evidentiary hearing to decide the amount of
     crack cocaine for which the defendant was responsible under USSG Amendment 706 and
27   observing “[defendant] has not claimed in this appeal that based on the record and the sources
     cited by the PSR it could not reasonably be concluded that he was responsible for more than 4.5
28   kg of crack . . . . [u]nder Dillon, that is where our inquiry ends.”).
                                                         13
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 1   845-47 (9th Cir. 1993) (affirming the use of total weight of liquid mixture containing

 2   methamphetamine in sentencing). Amendment 484, rejected that approach and instead adopted

 3   the “marketable material approach,” excluding from the drug quantity weight for base offense

 4   level purposes, all liquids and materials that must be removed in the drug processing stage. See

 5   Sprague, 135 F.3d at 1305–06.

 6          Prior to Amendment 484, sentencing courts in the Ninth Circuit would not have

 7   considered the composition of such mixtures rather only the gross weight of the

 8   methamphetamine when mixed with packaging material and waste washings. Therefore, in

 9   applying Amendment 484, sentencing courts were very much dependent on new evidence in

10   determining drug quantities in cases where packaging material or waste washings were present.

11   Amendment 782, in contrast, merely lowered the sentencing guideline ranges corresponding to

12   particular drug quantities as had already been determined at the time of sentencing. Therefore,

13   the original sentencing court in a case with a motion to modify sentence in light of Amendment

14   782 will always have made some kind of drug quantity determination that can be referred to in

15   considering a motion to modify sentence. Thus, even if Sprague’s holding in the context of

16   applying Amendment 484 remains unaffected by the Supreme Court’s decision in Dillon, it does

17   not control resolution of the issue before this court in ruling upon defendant’s motion for a

18   reduction in his sentence under Amendment 782.

19          iii.    Dillon Step One: Eligibility for Relief Under Amendment 782.

20          The court finds that there is simply insufficient evidence in the sentencing court record
21   upon which to base a finding that, by a preponderance of the evidence, defendant Acosta’s

22   offense involved 4.5 kilograms or more of actual methamphetamine. As noted, defendant’s PSR

23   states that law enforcement agents found nine pounds of finished methamphetamine at 805

24   Rosemore Avenue during the execution of a search warrant after defendant was arrested leaving

25   that residence. (PSR at 6, ¶ 14.) Nine pounds equates to approximately 4.08 kilograms.

26   However, as defendant notes, there is no information in the PSR as to the purity level of this nine
27   pounds of finished methamphetamine. Rather, even in contending that the nine pounds seized

28   constituted 2.629 kilogram of actual methamphetamine, the government has had to rely solely on
                                                     14
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 1   evidence that was not before the sentencing court and therefore cannot be considered by this court

 2   in ruling on the pending motion. (See Doc. No. 402–1, exhibit 7.)

 3            Turning to the evidence or information that was before the court at the time of sentencing,

 4   defendant’s PSR notes that as part of the overall investigation and in addition to the seizure of

 5   nine pounds at the Rosemore Avenue address, officers later discovered an operational laboratory

 6   on Berkeley Avenue. (PSR at 6, ¶13.) It also stated that, “[a]gents estimated that the laboratory

 7   had a production capacity of approximately 30 pounds of methamphetamine.” (Id.)8 However,

 8   the only link suggested in defendant’s PSR between defendant Acosta and the Berkeley Avenue

 9   drug laboratory was the statement that on September 18, 2004, defendant was observed by agents

10   driving to the Berkeley Avenue location and returning to 805 Rosemore Avenue with one of his

11   co-defendants. (Id.) It was two other codefendants who were arrested later that same day at the

12   Berkeley Avenue laboratory. (Id.) The PSR does not even indicate whether defendant entered

13   the Berkeley Avenue residence. While the PSR does state that defendant Acosta purchased items

14   related to the manufacture of methamphetamine, it does not indicate that he delivered anything to

15   the Berkeley Avenue residence. Likewise, the factual basis for the plea as set forth in the

16   agreement of the parties is quite ambiguous, referring only to a laboratory where others, not

17   including defendant Acosta, were in the initial process of manufacturing methamphetamine as

18   having “the capacity to manufacture and/or had manufactured, in excess of 1.5 kilograms of

19   actual methamphetamine.” (Doc. No. 276 at 5) (emphasis added). That language could be

20   interpreted as referring to 4.08 kilos (which the government now represents was only 2.629 kilos
21   of actual methamphetamine) or to some amount expected to result from the initial stage of a

22   manufacturing process interrupted by authorities. In any event, there was clearly no finding by

23   the sentencing court that defendant Acosta was responsible for in excess of 4.5 kilograms of

24   actual methamphetamine nor is there any evidence or information in the sentencing record from

25   /////

26
     8
27     Defendant argues that “there is no evidence from which to conclude that Acosta’s guideline
     calculations should include this lab or, even if it did, what amount is attributable to Acosta.”
28   (Doc. No. 404, 7:23–27.)
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 1   which this court could now make such a finding by a preponderance of the evidence standard.9

 2            Relying solely on the evidence that was before the sentencing court and employing the

 3   preponderance of the evidence standard, the undersigned can only find that more than 1.5

 4   kilograms but less than 4.5 kilograms of actual methamphetamine was involved in defendant

 5   Acosta’s offense. Given this finding, under Sentencing Guideline Amendment 782 defendant

 6   Acosta’s total adjusted offense level is reduced by two levels from thirty five to thirty three. With

 7   a criminal history category III, an adjusted offense level of thirty-three reduces defendant’s

 8   guideline range to one calling for a term of imprisonment of 168 to 210 months.10 Accordingly,

 9   defendant Acosta is eligible for relief under Amendment 782.

10            iv.    Dillon Step Two: Consideration of § 3553(a) Sentencing Factors.

11            Having determined that defendant Acosta is eligible for a sentence reduction, the court

12   must consider the § 3553(a) sentencing factors in deciding whether, in the exercise of its

13   discretion, a sentence reduction is warranted under the circumstances of this case. As a

14   preliminary matter, the court concludes that at this second step of the analysis it is also not

15   appropriate to consider new evidence relating to the defendant’s offense of conviction in making

16   this determination. See Dillon, 560 U.S. at 827 (“Because reference to § 3553(a) is appropriate

17   only at the second step of this circumscribed inquiry, it cannot serve to transform the proceedings

18   under § 3582(c)(2) into plenary resentencing proceedings.”).

19   9
       Again, on the question of the production capacity of the Berkeley Avenue laboratory, the
20   government relies solely on evidence that was not before the sentencing court and therefore
     cannot be considered by this court in ruling on the pending motion. As previously noted, the
21   government relies in this regard upon the opinion rendered by a forensic chemist that, based upon
     the 9.355 kilograms of pseudoephedrine present there, the Berkeley Avenue laboratory had a
22
     production capacity of between 4.677 kilograms to 8.656 kilograms of methamphetamine. (See
23   Doc. No. 402–1, exhibit 5.) Notably, this expert opinion was not produced to counsel for
     defendants who were proceeding to trial until March of 2007, some ten months after defendant
24   Acosta was sentenced.
25   10
        Defendant originally argued that the court should include the sentencing court’s overstated
26   criminal history finding resulting in a departure from category III to II. However, in light of the
     intervening Ninth Circuit decision United States v. Ornelas, 825 F.3d 548 (9th Cir. 2016) and the
27   fact that defendant Acosta has less than twelve months left to serve on the sentence originally
     imposed, defendant withdrew that request and has asked that the court to reduce his sentence
28   from 180 to 168 months. (Doc. No. 408 at 2.)
                                                      16
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 1           In this case, after considering all of the § 3553(a) factors the court finds that sentence

 2   reduction is warranted. Pursuant to the parties plea agreement, the sentencing court originally

 3   found that defendant’s criminal history category was II rather than III resulting in a guideline

 4   range calling for a term of imprisonment of 188 to 235 months, and then departed downward

 5   eight months from the low end of that guideline range to sentence defendant to a 180 month term

 6   of imprisonment. Defendant Acosta’s PSR does not mention the any involvement of weapons or

 7   violence in connection with his offense, nor was he found to have played a managerial or

 8   supervisory role in its commission. (PSR at 7-8.) Defendant points out that he has conducted

 9   himself well in federal prison as evidenced by the Bureau of Prison’s decision to designate him to

10   serve his sentence in a low-security level institution. Moreover, defendant Acosta has already

11   served eleven years in prison and asserts that he expects to be deported at the completion of his

12   sentence. The court finds that the § 3553(a) factors support a reduction of this defendant’s

13   sentence to a term of 168 months, at the low end of the amended guideline range of 168 to 210

14   months.

15                                                 CONCLUSION

16           For all of the reasons set forth above:

17           (1) Defendant Acosta’s motion and amended motion brought pursuant to 18 U.S.C. §

18              3582(c)(2) (Doc. Nos. 392, 401) are granted;

19           (2) The term of imprisonment imposed on May 1, 2006 is reduced to a term of 168

20              months. If this sentence is less than the amount of time defendant Acosta has already

21              served as of the date of this order, the sentence is reduced to a time served sentence;

22           (3) All other terms and provisions of the original judgment remain in effect. The Clerk of

23              the Court is directed to forthwith prepare an AO247 form reflecting this reduction in

24              sentence, and to serve certified copies of that AO247 on the United States Bureau of

25              Prisons and the United States Probation Office;

26   /////

27   /////

28   /////
                                                       17
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 1        (4) Unless otherwise ordered, defendant Acosta shall report to the United States Probation

 2              Office within seventy-two hours after his release from the custody of the Bureau of

 3              Prisons; and

 4        (5) The Clerk of the Court is directed to close this case as to defendant Acosta.

 5   IT IS SO ORDERED.
 6
       Dated:     December 29, 2016
 7                                                    UNITED STATES DISTRICT JUDGE

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